42 F.3d 1386
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Davey James REEDY, Plaintiff Appellant,v.Mary Sue TERRY, Defendant Appellee.
    No. 94-6642.
    United States Court of Appeals,
    Fourth Circuit.
    Dec. 7, 1994.Submitted Nov. 17, 1994Decided Dec. 7, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, Chief District Judge.  (CA-93-887-R)
      Davey James Reedy, appellant Pro Se.
      W.D.Va.
      AFFIRMED.
      Before RUSSELL and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's orders denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint and denying his subsequent Fed.R.Civ.P. 59 motion.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Reedy v. Terry, No. CA-93-887-R (W.D.Va. Jan. 31 &amp; Apr. 29, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    